    Case: 1:16-cv-04693 Document #: 59 Filed: 06/05/18 Page 1 of 2 PageID #:400



                       IN THE UNITED STATES DISTRICT COURT
                      FOR THE NORTHERN DISTRICT OF ILLINOIS
                                 EASTERN DIVISION

NIKYAMICHA HAMPTON and                          )
MARQUINE S. WILLIAMS, individually )
and on behalf of all others similarly situated, )
                                                )
                       Plaintiff,               )      No. 16 CV 4693
                                                )
               v.                               )
                                                )      Hon. John Robert Blakey
CENTENE MANAGEMENT                              )
COMPANY, LLC,                                   )      Magistrate Judge Shelia Finnegan
                                                )
                       Defendant.               )

              PLAINTIFFS’ UNOPPOSED MOTION FOR FINAL APPROVAL
                  OF THE PARTIES’ CLASS ACTION SETTLEMENT

        Plaintiffs, Nikyamicha Hampton and Marquine S. Williams, individually and on behalf of

all others similarly situated, by their attorneys, respectfully move for the entry of an Order granting

final approval of the Parties’ Class Action Settlement Agreement. In support of their motion,

Plaintiffs submit a supporting Memorandum of Law, the Declaration of Class Counsel, and the

Declaration of the Claims Administrator, and state as follows:

        1.      On February 26, 2018, this Court granted preliminary approval of the Parties’ Class

Action Settlement Agreement (the “Settlement”). (ECF No. 58).

        2.      Final approval is appropriate where the court determines that a settlement is fair,

adequate, and reasonable. Synfuel Techs., Inc. v. DHL Express (USA), Inc., 463 F.3d 646, 652 (7th

Cir. 2005).

        3.      The Settlement in this case was achieved in good faith and through arms-length

negotiations, and is not the product of fraud or collusion.

        4.      The Settlement offers significant monetary relief to the Class Members.
    Case: 1:16-cv-04693 Document #: 59 Filed: 06/05/18 Page 2 of 2 PageID #:401



       5.      The Settlement is supported by the Class Members. Only one Class Member

submitted a request for exclusion, and none objected to the Settlement. These facts show strong

support for the Settlement.

       6.      The Parties have provided the Class Members with adequate notice of the terms

and conditions of the Settlement in a manner intended to maximize their due process rights.

       7.      Additionally, experienced Class Counsel have extensively analyzed the claims and

issues herein, and certify that the Settlement is fair, reasonable, and adequate, and in the best

interest of the Class Members. Thus, the Court should grant final approval of the Settlement, find

the Settlement fair, reasonable, adequate, and in the best interests of the Class Members, approve

Class Counsel’s request for an award of attorneys’ fees and costs, approve the Incentive Awards

to the Named Plaintiffs, and enter the proposed final approval order dismissing this action.

       WHEREFORE, Plaintiffs respectfully request that this Honorable Court enter the proposed

Final Approval and Dismissal Order attached as Exhibit 1 to Plaintiffs’ Memorandum of Law.


                                             Respectfully submitted,

                                             NIKYAMICHA HAMPTON and
                                             MARQUINE S. WILLIAMS, individually and on
                                             behalf of all others similarly situated,

                                             /s/ James X. Bormes
                                             One of Plaintiffs’ Attorneys


James X. Bormes                              Thomas M. Ryan
Catherine P. Sons                            Law Offices of Thomas M. Ryan, P.C.
Law Office of James X. Bormes, P.C.          35 East Wacker Drive
8 South Michigan Ave                         Suite 650
Suite 2600                                   Chicago, IL 60601
Chicago, IL 6060                             (312) 726-3400
(312) 201-0575                               tom@tomryanlaw.com
jxbormes@bormeslaw.com
cpsons@bormeslaw.com



                                                2
